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AKERMAN LLP
1251 Avenue of the Americas, 37th Floor
New York, New York 10020
Mark S. Lichtenstein
Joshua D. Bernstein
Counsel for 286 Rider Ave Development LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
In re:                                                         Chapter 11

286 RIDER AVE ACQUISITION LLC,                                 Case No: 21-11298-LGB

                           Debtor.
----------------------------------------------------------X

                               NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF DOCUMENTS

TO: ALL PARTIES IN INTEREST

         PLEASE TAKE NOTICE that Mark S. Lichtenstein, Esq. and Joshua D. Bernstein,

Esq. of Akerman LLP, hereby appear as counsel in this case for 286 Rider Ave Development LLC

("Development"), pursuant to 11 U.S.C. § 1109(b) and Rule 9010(b) of the Federal Rules of

Bankruptcy Procedure and Local Bankruptcy Rule 2090-1(a), and requests copies of all notices

and pleadings given or required to be given and all papers served or required to be served in this

case be given to and served upon the undersigned at the following office and address:

                                             AKERMAN LLP
                                 1251 Avenue of the Americas, 37th Floor
                                      New York, New York 10020
                                       Telephone: (212) 880-3800
                                        Facsimile: (212) 880-8965
                                    Attn.: Mark S. Lichtenstein, Esq.
                                           Joshua D. Bernstein, Esq.
                                 Email: mark.lichtenstein@akerman.com
                                  Email: joshua.bernstein@akerman.com




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         PLEASE TAKE FURTHER NOTICE, that the foregoing demand includes, without

limitation, notices of any application, complaint, demand, hearing, motion, order, petition,

pleading or request, whether formal or informal, written or oral, and whether transmitted or

conveyed by mail, hand delivery, telephone, facsimile, telegraph, telex or telecopier or

otherwise, filed with regard to the above-captioned case and proceeding therein.

         PLEASE TAKE FURTHER NOTICE, that Development reserves all rights including,

without limitation, seeking to dismiss this bankruptcy case.

         PLEASE TAKE FURTHER NOTICE that request is also made that the undersigned be

added to any official service lists for notices of all contested matters, adversary proceedings or

other proceedings in this case.

Dated: New York, New York
       July 30, 2021
                                             AKERMAN LLP


                                             By:__________________________________
                                                   Mark S. Lichtenstein
                                                   Joshua D. Bernstein
                                                   1251 Avenue of the Americas, 37th Floor
                                                   New York, New York 10020
                                                   Tel. (212) 880-3800
                                                   E-mail: mark.lichtenstein@akerman.com
                                                   E-mail: joshua.bernstein@akerman.com

                                             Counsel for 286 Rider Ave Development LLC




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